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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

ERNEST STANDLEY,                                §
                                                §
               Plaintiff,                       §
                                                §
vs.                                             §     CIVIL ACTION NO. 4:14-CV-2057
                                                §
NABORS INDUSTRIES, INC. AND                     §
EXPRESS PAYROLL, INC.                           §
                                                §
               Defendant.                       §


                                     FINAL JUDGMENT

        Pending before this Court is the parties’ Joint Motion for Approval of Settlement and

Entry of Final Judgment Dismissing Lawsuit with Prejudice. Having considered the parties’

Motion, and having found that the parties’ Settlement is fair and equitable, the Court determines

that the parties Motion should be GRANTED in all respects. Therefore, the Court


        ORDERS that the parties’ Settlement is approved and that this action is dismissed with

prejudice.


        Dated this _______ day of ________________, 2015.




                                                    ________________________________
                                                    THE HON. KENNETH M. HOYT
                                                    UNITED STATES DISTRICT JUDGE
